      Case 4:20-cv-05640-YGR          Document 1580         Filed 05/20/25      Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


   EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
                    Plaintiff, Counter-defendant,
                        v.
   APPLE INC.,                                        RESPONSE TO APPLE’S OBJECTION
                    Defendant, Counterclaimant.       TO SPECIAL MASTER RULING ON
                                                      APPLE INC.’S PRODUCTIONS OF RE-
                                                      REVIEWED DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-
Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
response to Apple’s Objection to the Special Masters’ ruling (“Objection”), filed on May 16,
2025. (Dkt. 1570.) Epic does not have access to the underlying documents and is therefore
unable to fully assess the bases on which Apple claims privilege; Epic responds to Apple’s
Objection on the limited information provided in Apple’s privilege log entry for the
document and in Apple’s Objection.
  ●    Entry No. 7469 (PRIV-APL-EG_00223363)—Apple seeks to redact this Slack
       message thread among non-lawyers, claiming in its Objection that the redacted
       comments from a non-attorney are privileged because the comments were “gathered
       by ‘having chatted with Legal’”. (Dkt. 1570 at 2.) Apple’s privilege log entry does not
       identify any attorney involved. (See Privilege Log Entry No. 7469.) And regardless, it is
       not the source of the comments but rather their nature that is determinative. Here, a
       Special Master reviewed the redacted comments and squarely found that notwithstanding
       the source of the comments, they “do[] not reveal legal advice or [a] request for legal
       advice”. Id. Nothing in Apple’s Objection suggests that finding was incorrect.

   DATED: May 20, 2025                               CRAVATH, SWAINE & MOORE LLP
                                                     By: /s/ Yonatan Even
                                                     Counsel for Plaintiff Epic Games, Inc.
